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_ u.s. psra§roam
UN|TED STATES OF AMER|CA, ) th G¥ t ié:.atPi'BS
)
P|aintiff, )
) Cr. No. 04-20100-M1
vs. )
)
KYBR|C DOUGLAS AND )
DARREN MACL|N, )
)
Defendants. )
ORDER

 

Upon motion of the United States of America by and through counsel, T`erre|i L.
Harris, United States Attorney for the Western District of Tennessee, counts 1, 3, and 4

of the indictment are hereby dismissed for defendants, Kybric Doug|as and Darren |V|aciin.

iT ls so oRDEREo this ,?(0 day ofJuly, 2005

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JO P. McCALLA
Un' ed States District Judge

 

 

 

 

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with Fiu|e 55 and/or 32(b) FHCrP on ' 'Hj

   

UNITED `sATESDTISRIC COURT - WESTERN D's'TRCT OFTENNESSEE

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Honorable Jon McCalla
US DISTRICT COURT

